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                         UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


     IN RE: NATIONAL FOOTBALL
     LEAGUE PLAYERS’ CONCUSSION
     INJURY LITIGATION


     KEVIN TURNER AND SHAWN
     WOODEN, on behalf of themselves and                             No. 12-md-2323-AB
     others similarly situated,
                                                                     MDL No. 2323
                                          Plaintiffs,

                               v.                                    Hon. Anita B. Brody
     NATIONAL FOOTBALL LEAGUE and
     NFL PROPERTIES LLC, successor-in-
     interest to NFL Properties, Inc.
                                      Defendants.


     THIS DOCUMENT RELATES TO:
     ALL ACTIONS



                                                   ORDER


        AND NOW, on this 20th day of November, 2020, it is ORDERED that the Motion for

Relief Under Article XXVII of the Settlement Agreement or for Relief from Judgment (ECF No.

11169) is DENIED WITHOUT PREJUDICE to raise the issue at a later time.

        Movants must exhaust their remedies under the Claims Administration process before

petitioning the Court. 1


1
 Movants Henry and Davenport bring this motion. Henry’s claim was denied by the Claims Administrator. Henry
could have appealed the denial to the Special Masters. He did not. Davenport’s claim was approved by the Claims
Administrator, but the NFL Parties appealed the decision to the Special Masters. The Special Masters remanded
Davenport’s claim to the Claims Administrator for further consideration. Davenport has not completed the remand
and thus has not received a final determination on his claim.
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                                        _s/ANITA B. BRODY, J.___
                                        ANITA B. BRODY, J.


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